












Affirmed and Memorandum Opinion filed August 6, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00716-CR

&nbsp;

____________

&nbsp;

DANIEL WAYNE TIDWELL, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 241stDistrict
Court

Smith County, Texas

Trial Court Cause No.
241-0065-08

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to sexual assault of a
child.&nbsp; Appellant pled true to an enhancement paragraph.&nbsp; On June 18, 2008, the
jury found the enhancement paragraph true, sentenced appellant to confinement
for fifty years in the Institutional Division of the Texas Department of
Criminal Justice, and assessed a fine of $10,000.&nbsp; Appellant filed a timely
notice of appeal.








Appellant=s appointed counsel filed a brief in which he concludes this
appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements
of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967), by
presenting a professional evaluation of the record and demonstrating why there
are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d
807, 811-12 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to appellant.&nbsp;
Appellant was advised of the right to examine the appellate record and file a
pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; As of this date, more than sixty days has elapsed and no pro se
response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp; Further, we find no reversible error in
the record.&nbsp; A discussion of the brief would add nothing to the jurisprudence
of the state.&nbsp; We are not to address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review.&nbsp; See Bledsoe v. State, 178 S.W.3d 824, 827-28 (Tex.
Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Guzman, and Boyce.

Do Not Publish C Tex. R. App. P. 47.2(b).





